                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                            HOT SPRINGS DIVISION

TERESA LAMBEL, individually and on behalf of all
Others similarly situated                                                     PLAINTIFF

       v.                     Case No. 6:22-CV-06123

CARIB'S CABLE AND FIBER, LLC                                               DEFENDANT


                    Plaintiff’s Motion to Strike Defendant’s Answer
       Plaintiff Teresa Lambel, by and through counsel and pursuant to Rule 12(f) of the

Federal Rules of Civil Procedure, hereby moves the Court to Strike the Answer of

Defendant Carib’s Cable and Fiber, LLC.

       1.       The above-captioned proceeding is an action under the Fair Labor

Standards Act, 29 U.S.C. § 201, and the Arkansas Minimum Wage Act, A.C.A. § 11-4-

201, for unpaid wages owed to Plaintiff and similarly situated employees by Defendant,

their employer.

       2.       Plaintiff filed its complaint against Defendant on November 30, 2022

(Doc. No. 2).

       3.       Service of process was perfected on Defendant with the publication of the

Warning Order on March 26, 2023, and April 2, 2023.

       4.       Defendant, acting pro se, filed an Answer to Complaint on April 20, 2023

(Doc. No. 11). This answer was a two-page general denial of all claims in Plaintiff’s

complaint, ending with Defendant raising “all affirmative defenses.”

       5.       The Defendant is a corporate defendant and may not proceed before this

Court pro se. The U.S. Supreme Court has stated: “[i]t has been the law for the better


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part of two centuries ... that a corporation may appear in federal courts only through

licensed counsel.” Rowland v. California Men's Colony, 506 U.S. 194, 201-02 (1993); see

also Deleon, 2012 U.S. Dist. LEXIS at 2-3 (dismissing Complaint of pro se corporate

plaintiff).

        6.     The Defendant is not a licensed attorney, and no licensed attorney filed an

Answer on behalf of the Defendant. Accordingly, the Answer filed on April 20, 2023 must

be stricken.

        WHEREFORE, for these reasons, Plaintiff respectfully requests that the Answer

of Defendant be stricken from the Record; for its attorney’s fees and costs for filing this

Motion; and for all other available relief.

                                              Respectfully submitted,

                                              TERESA LAMBEL, individually and on
                                              behalf of all others similarly situated,
                                              PLAINTIFF

                                              wh Law | We Help
                                              1 Riverfront Pl. – Suite 745
                                              North Little Rock, AR 72114
                                              (501) 891-6000

                                       By:    Stewart Whaley (ABN: 2009084)
                                              stewart@wh.law
                                              Chris Burks (ABN: 2010207)
                                              chris@wh.law




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                                 Certificate of Service

I sent the following person this document on April 26, 2023, through the following means:

( ) E-File
( ) Email
( ) Fax
(x) Traditional Mail

Carib’s Cable and Fiber, LLC
2001 Jeannin Dr.
North Port, FL 34288


                                             By:   /s/ Stewart Whaley
                                                   Stewart Whaley




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